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     815 Civic Center Drive
 3   Oceanside, California
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     Facsimile: (760) 730-5081
 5
     Attorneys for Debtor
 6   Samuel Kelsall V
 7
 8
                                  UNITED STATES BANKRUPTCY COURT
 9
                                   SOUTHERN DISTRICT OF CALIFORNIA
10
11   In re:                                                Case No.: 23-01962-MM7
12                                                         Adversary Proceeding No.: 23-90064-MM
     SAMUEL KELSALL V,
13               Debtor,
                                                           ANSWER TO ADVERSARY COMPLAINT
14                                                         FOR DENIAL OF DISCHARGE
                                                           PURSUANT TO 11 U.S.C. § 727(a)(3) and
15   WILLIAM J. FREED, APC, aka WILLIAM J.                 (a)(4)
16   FREED
17
                 Plaintiff
18
     vs.
19
     SAMUEL KELSALL, V
20
                 Defendant.
21
22
              Defendant Samuel Kelsall V hereby submits this Answer to Plaintiff Willaim J. Freed, APC's
23
     ("Freed") Adversary Complaint for Denial of Discharge Pursuant to 11 U.S.C. § 727(a)(3) and (a)(4)
24
     ("the Complaint"). Pursuant to FRBP 7012(b), Defendant does not consent to entry of final orders or
25
     judgment by the bankruptcy comi.
26
27
28
                                     1 - ANSWER TO ADVERSARY COMPLAINT
                                                                                                23-0 l 962-MM7

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 1                                                 GENERAL DENIAL
 2           Defendant denies each and every allegation in the unverified Complaint and fmiher denies that
 3   Plaintiff is entitled to any relief whatsoever.
 4                                                         PARTIES
 5           1.      Defendant denies the allegations set fo1ih in paragraph 1.
 6           2.      Defendant admits the allegation set forth in paragraph 2.
 7                                                   JURISDICTION
 8           3.      As to paragraph 3, Defendant admits that he filed a Chapter 7 bankruptcy petition on July
 9   4, 2023. Defendant denies the remaining allegations set fo1ih in paragraph 3 and fmiher denies that
10   Plaintiff is entitled to any relief in this case.
11                                                          VENUE
12           4.      Defendant denies the allegations set forth in paragraph 4.
13                                            GENERAL ALLEGATIONS
14           5.      Defendant denies the allegations set fo1ih in paragraph 5.
15           6.      Defendant admits that Plaintiff is making the allegations set fmih in paragraph 6 but
16   denies that Defendant is entitled to any relief sought.
17           7.      Defendant admits that he is discharging the personal guaranty attached as Exhibit B to the
18   complaint as set fo1ih in paragraph 7. In all other respects, Defendant denies the allegations and further
19   denies that Defendant is entitled to any relief sought.
20           8.       Defendant admits that he is a citizen and resident of San Diego County. Defendant also
21   admits that he has regularly made court appearances in civil and probate court the allegations set fo1ih in
22   paragraph 8.
23           9.       Defendant admits that he negotiated for the purchase of Wal wick & Freed from early
24   2018 until October 1, 2018 . In all other respects, Defendant denies the allegations set fmih in paragraph
25   9.
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                                         2 - ANSWER TO ADVERSARY COMPLAINT
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 1           10.    As to paragraph 10, Defendant admits that the building at 815 Civic Center Drive,
 2 Oceanside, California 92054 was owned by Freed as an individual. Defendant denies the remaining
 3   allegations of paragraph 10.
 4           11 .   As to paragraph 11, Defendant admits that the purchase of the law practice closed on
 5   October 26, 2018 with Freed Corp canying a $180,000 promissory note. Defendant denies the
 6   remaining allegations of paragraph 11.
 7           12.    Defendant admits the allegations set fo1ih in paragraph 12.
 8           13.    As to paragraph 13, Defendant admits that 815 Civic Center LTD paid Freed
 9   $174,188.46, which represented all remaining financial obligations for the sale of the real property at
10   815 Civic Center Drive. Defendant denies the remaining allegations of paragraph 13.
11                                         RELEVANT PROPERTIES
12           14.    As to paragraph 14, Defendant admits that he resides at 7531 Navigator Circle, Carlsbad,
13   California with his two minor children. Defendant denies the remaining allegations of paragraph 14.
14           15 .   Defendant denies the allegations set fo1ih in pmagraph 15 .
15           16.    Defendant admits that, in the past, he has owned and operated Kelsall & Associates PC
16   and Kelsall Law PC. Defendant fmiher admits that, in the past, those entities have operated as a law
17   practice at 2921 Roosevelt Street, Carlsbad, California and 25411 Cabot Road #114, Laguna Hills,
18   California. Defendant denies the remaining allegations of paragraph 16.
19           17.    As to paragraph 17, Defendant admits that ownership of the office located at 2921
20   Roosevelt Street, Carlsbad, California is in a business trust named 2921 Roosevelt LTD. Defendant also
21   admits that, at one point several years ago, he was the executive trustee of that business trust. Defendant
22   denies that he is currently the executive trustee of 2921 Roosevelt LTD and fmiher denies that he has
23   any control over that entity.
24           18.     Defendant admits the allegations set fo1ih in paragraph 18.
25           19.    As to paragraph 19, Defendant admits that title ownership to the law office located at 815
26   Civic Center Drive in Oceanside is in a business trust named 815 Civic Center Drive LTD. Defendant
27   also admits that, at one point in the past, he was the executive trustee of that business trust. Defendant
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                                     3 - ANSWER TO ADVERSARY COMPLAINT
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 1 denies that he is currently the executive trustee of 815 Civic Center Drive LTD and fmiher denies that
 2 he has any control over that entity.
 3           20.      Defendant denies the allegations set forth in paragraph 20.
 4           21.      Defendant denies that it would be proper for this Comi to grant the request set fo11h in
 5   paragraph 21.
 6           22.      Defendant denies the allegations set fo1th in paragraph 22.
 7           23.      Defendant denies that it would be proper for this Comi to grant the request set fmih in
 8   paragraph 23 .
 9                                         FIRST CLAIM FOR RELIEF
10                                               11 U.S.C. § 727(a)(3)
11                       Concealed or Failed to Keep or Preserve Recorded Information
12           24.      Defendant incorporates his responses to all of the preceding paragraphs of the Complaint
13   as if fully re-alleged herein.
14           25 .     As to paragraph 25, Defendant denies that there is any legal or factual basis for the relief
15   requested pursuant to 11 U.S.C. § 727(a)(3) and fmiher denies that Plaintiff is entitled to any relief in
16   this case.
17           26.      Defendant denies the allegations set forth in paragraph 26.
18           27.      As to paragraph 27, Defendant admits that he has practiced law through three separate
19   professional corporations in the past but denies that he does so currently and that he has done so "at all
20   relevant times." Defendant admits the remaining allegations of paragraph 27.
21           28.      As to paragraph 28, Defendant admits that his Schedules state an average gross monthly
22   income of $7,226.77. Defendant denies the remaining allegations of paragraph 28.
23           29.      As to paragraph 29, Defendant admits that his Petition states that he pays $5,000 in rent
24   on a residence. Defendant denies that legal or equitable title to that residence has been transferred to
25   him and denies the remaining allegations of paragraph 29.
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                                       4 - ANSWER TO ADVERSARY COMPLAINT
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 1             30.    As to paragraph 30, Defendant admits that he invoked the attorney-client privilege when
 2   asked about the recipient of the rent paid, or the trustee(s), shareholders or beneficiaries of the business
 3   trust. Defendant denies the remaining allegations in paragraph 30.
 4             31.    Defendant denies the allegations set for in paragraph 31.
 5             32.    Defendant admits that he has been an attorney for over 30 years and practices and
 6   represents clients in Bankruptcy Comi. Defendant denies the remaining allegations in paragraph 32.
 7             33.    Defendant denies the allegations set fo1ih in paragraph 33 and denies that it would be
 8   proper for this Comito grant the request set forth in paragraph 33.
 9                                         SECOND CLAIM FOR RELIEF
10                                                 11 U.S.C. § 727(a)(4)
11                                Knowing and Fraudulent False Oath or Account
12             34.    Defendant incorporates his responses to all of the preceding paragraphs of the Complaint
13   as if fully re-alleged herein.
14             35.    Defendant denies the allegations set fo1ih in paragraph 35. Defendant denies that he has
15   violated 11 U.S.C. § 727(a)(4) and fu1iher denies that he knowingly or fraudulently made any false
16   statements, oaths, or accounts which materially related to the bankruptcy proceedings with the intent to
17   deceive the bankruptcy comi, creditors, and the Trustee.
18             36.    Defendant denies the allegations set forth in paragraph 36.
19             37.    As to paragraph 37, Defendant denies that there is any legal or factual basis for the relief
20   requested under 11 U.S.C. § 727(a)(4) and fu1iher denies that Plaintiff is entitled to any relief.
21
22             Response to Prayer for Relief: Defendant admits that Plaintiff is seeking the relief set forth in the
23   Complaint but denies that there is any legal or factual basis for granting the relief requested and fu1iher
24   denies that Plaintiff is entitled to any relief in this case.
25             Each and every remaining allegation set fo1ih in the Complaint not expressly admitted herein is

26   denied.
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                                        5 -ANSWER TO ADVERSARY COMPLAINT
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 1                                        AFFIRMATIVE DEFENSES
 2          In asse1iing the following defenses, Defendant does not admit that the burden of proving the
 3   allegations or denials contained in the defenses is upon Defendant. To the contra1y, the burden of
 4   proving the facts relevant to many of the defenses and the burden of proving the inverse of the
 5   allegations contained in the defenses is upon the Plaintiff. Moreover, in asse1iing any defenses or any
 6   other matter, Defendant does not admit any liability. Rather, Defendant specifically denies the
 7   allegations in the Complaint as set forth herein. Without admitting liability as to any of the Plaintiffs
 8   causes of action, Defendant asse1is the following affirmative defenses.
 9                                     FIRST AFFIRMATIVE DEFENSE
10                                            (Failure to State a Claim)
11           1.     The Complaint and each and eve1y cause of action therein, fails to state facts sufficient to
12   constitute a cause of action against this answering Defendant.
13                                   SECOND AFFIRMATIVE DEFENSE
14                                               (Lack of Standing)
15          2.      Plaintiff, as a contingent creditor in this case, lacks standing to enforce the provisions of
16   11 U.S .C. § 727(a)(3) and (a)(4) and has improperly tried to usmp the role of the Chapter 7 Trustee.
17                                     THIRD AFFIRMATIVE DEFENSE
18        (Failure to Include Statement of Consent or Nonconsent to Bankruptcy Comi' s Entry of Order)
19           3.     The Complaint does not contain the required statement that the pleader does or does not
20   consent to ent1y of final orders or judgment by the bankruptcy comi in violation of FRBP 7008 and the
21   Southern District of California local bankruptcy rule 7008-1, and the Complaint is therefore void.
22                                   FOURTH AFFIRMATIVE DEFENSE
23                                                  (Justification)
24           4.     To the extent that Defendant concealed, destroyed, mutilated, falsified, or failed to keep

25   or preserve any recorded info1mation from which his financial condition or business transactions might

26   be ascertained, which he did not, such act(s) or failure to act was justified under all of the circumstances

27   of the case.
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                                      6 - ANSWER TO ADVERSARY COMPLAINT
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 1                                      FIFTH AFFIRMATIVE DEFENSE
 2                                                    (Waiver)
 3           5.     Plaintiff through its actions and omissions in connection with the Defendant and each and
 4   every cause of action alleged the Complaint has waived its right(s), claims, or causes of action, if any,
 5   against this answering Defendant.
 6                                      SIXTH AFFIRMATIVE DEFENSE
 7                                                    (Consent)
 8           6.     Plaintiff is ba1Ted from recovery on each cause of action alleged in the Complaint in that
 9   at all times and places alleged therein, any and all acts of this answering Defendant relative to the
10   subject matter of the Complaint were expressly and/or impliedly consented to by Plaintiff.
11                                     SEVENTH AFFIRMATIVE DEFENSE
12                                                   (Mitigation)
13           7.     This answering Defendant is info1med and believes and thereon alleges that Plaintiff has
14   failed to mitigate its damages.
15                                     EIGHTH AFFIRMATIVE DEFENSE
16                                                (Lack of Notice)
17           8.     The Complaint, and each and every cause of action therein, is ba1Ted by lack of notice.
18                                      NINTH AFFIRMATIVE DEFENSE
19                                             (Statute of Limitations)
20           9.     The Complaint, and each and every cause of action therein, is ba1Ted by the statute of
21   limitations.
22                                      TENTH AFFIRMATIVE DEFENSE
23                                                    (Latches)
24           10.    The Complaint, and each and every cause of action therein, is barred by latches. Plaintiff

25   has inexcusably and umeasonably delayed the commencement of the action, to the prejudice of the

26   Defendant, in that Plaintiff has significantly delayed bringing its action until the transactions complained

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                                       7 - ANSWER TO ADVERSARY COMPLAINT
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 1   of have become obscured by time and the evidence has been lost, and thus no con-ect account can be
 2   rendered and any conclusion to which the comi can an-ive must, at best, be conjectural.
 3                                  ELEVENTH AFFIRMATIVE DEFENSE
 4                                             (No Proximate Cause)
 5          11.     Plaintiff is barred from recovery on the Complaint and each cause of action alleged
 6   therein, because if Plaintiff suffered any loss, damage or injury, which this answering Defendant denies,
 7   said loss, damage or injmy was proximately caused by the Plaintiff.
 8                                  TWELFTH AFFIRMATIVE DEFENSE
 9                                                (Unclean Hands)
10          12.     The Complaint, and each and every cause of action therein, is barred because the Plaintiff
11   comes to comi with unclean hands.
12                                THIRTEENTH AFFIRMATIVE DEFENSE
13                                                    (Estoppel)
14          13.     The Complaint, and each and every cause of action therein, is baned by estoppel.
15   Plaintiff, by and through its conduct is estopped from asse1iing its claim(s) as set fo1ih in the Complaint.
16                                FOURTEENTH AFFIRMATIVE DEFENSE
17                                                  (Negligence)
18          14.     The Complaint, and each and every cause of action therein, is subject to Defendant's
19   claim of negligence. If Defendant proximately caused Plaintiff to sustain damages, which Defendant
20   denies Plaintiffs damages resulted because of Plaintiffs negligent failure to make a reasonable inquiry
21   and failure to exercise prudent care for their own respective rights and interests. To the extent that
22   Plaintiff failed to make a reasonable inquiry and act prudently, any damages that this Cami awards to
23   Plaintiff should be reduced by Plaintiffs comparative fault.
24                                  FIFTEENTH AFFIRMATIVE DEFENSE

25                                               (No Consideration)

26          15.     This answering Defendant is infmmed and believes and thereon alleges that all

27   contractual claims of Plaintiff are void for lack of consideration.
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                                      8 - ANSWER TO ADVERSARY COMPLAINT
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 1                                  SIXTEENTH AFFIRMATIVE DEFENSE
 2                                                   (Overreaching)
 3           16.     This answering Defendant is informed and believes and thereon alleges that all
 4   contractual claims of Plaintiff are void because of overreaching by Plaintiff, in the underlying contract.
 5                                SEVENTEENTH AFFIRMATIVE DEFENSE
 6                                             (Lack of Definite Te1ms)
 7           17.     This answering Defendant is info1med and believes and thereon alleges that all
 8   contractual claims of Plaintiff are not enforceable for lack of definiteness of terms of any relationship or
 9   contract that might be found to exist between plaintiff and defendant.
10                                 EIGHTEENTH AFFIRMATIVE DEFENSE
11                                    (No Perf01mance of Conditions Precedent)
12           18.    This answering Defendant is inf01med and believes and thereon alleges that all
13   contractual claims of Plaintiff are barred because Plaintiff has failed to perform under the contract(s),
14   Plaintiffs failure to perform includes but is not limited to failure to perform ce1iain conditions
15   precedent.
16                                 NINETEENTH AFFIRMATIVE DEFENSE
17                                             (Assumption of the Risk)
18           19.     This answering Defendant is informed and believes and thereon alleges that all claims of
19   Plaintiff are barred because Plaintiff is responsible for any injuries that he/she/it has suffered in that it
20   knowingly assumed the risk of the unde1iakings as set f01ih in the Plaintiff.
21                                  TWENTIETH AFFIRMATIVE DEFENSE
22                                                      (Set-Off)
23          20.      This answering Defendant is informed and believes and thereon alleges that all claims of

24   Plaintiff are barred because Defendant is owed a greater amount by Plaintiff than the amount, if any,

25   owed by Defendant to Plaintiff.
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                                       9 -ANSWER TO ADVERSARY COMPLAINT
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 1                                  TWENTY-FIRST AFFIRMATIVE DEFENSE
 2                                          (Perfo1mance and Rejection)
 3          21.     This answering Defendant is info1med and believes and thereon alleges that all claims of
 4   Plaintiff are baned because Defendant has previously, on more than one occasion, as acknowledged by
 5   Plaintiff, tendered payment and Plaintiff has rejected Defendant's tender thereby extinguishing any
 6   obligation of Defendant.
 7                              TWENTY-SECOND AFFIRMATIVE DEFENSE
 8                                                  (Statute of Frauds)
 9          22.     This answering Defendant is info1med and believes and thereon alleges that all claims of
10   Plaintiff is baned by the Statute of Frauds.
11                                  TWENTY-THIRD AFFIRMATIVE DEFENSE
12                                                   (In Pari Delicto)
13          23.     The Complaint, and each and every cause of action therein, is baned by the equitable
14   doctrine of In Pari Delicto.
15                              TWENTY-FOURTH AFFIRMATIVE DEFENSE
16                                                    (No Contract)
17          24.     No contract, oral or written exists or has been contemplated between Plaintiff and
18   Defendant. Any and all claims, which Plaintiff might reasonably assert, are attributable to other
19   Defendants.
20                                  TWENTY-FIFTH AFFIRMATIVE DEFENSE
21                            (Other Defendants or Unknown Parties Are Responsible)
22          25.     Defendant is infmmed and believes and thereon alleges that the damages, if any, suffered

23   by Plaintiff, are the liability in pmi or in whole of other Defendant or other third parties, and unknown

24   parties and therefore, Defendant's liability if any should be appmtioned based upon the liability, if any,

25   of the other Defendant(s) and unknown pmties.
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                                      10 -ANSWER TO ADVERSARY COMPLAINT
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 1                              TWENTY-SIXTH AFFIRMATIVE DEFENSE
 2                                                 (Modification)
 3          26.     If any contractual relationship exists between Plaintiff and Defendant, Plaintiff materially
 4   modified, altered, and changed, the terms of the agreement, which Plaintiff has alleged. Plaintiffs
 5   modification, alteration, and change of the original agreement was intentional and without the consent or
 6   knowledge of this answering Defendant. By reason of such modification, alteration, and change all of
 7   Defendant's obligations, if any, under the originally alleged contract have been extinguished.
 8                            TWENTY-SEVENTH AFFIRMATIVE DEFENSE
 9                                                   (Privilege)
10          27.     Plaintiff is barred from recovery on the Complaint and each cause of action alleged
11   therein since the conduct of this answering Defendant was justified or privileged.
12                             TWENTY-EIGHTH AFFIRMATIVE DEFENSE
13                                                  (Vagueness)
14          28.     The Complaint is vague, uncertain, and unintelligible with regards to this answering
15   Defendant.
16                              TWENTY-NINTH AFFIRMATIVE DEFENSE
17                                                  (Rescission)
18          29.     Any and all contracts to which Plaintiff and Defendant were parties, if any, were
19   mutually rescinded, thereby precluding any breaches thereof.
20                                   THIRTIETH AFFIRMATIVE DEFENSE
21                                         (Obligations Fully Perfo1med)
22          30.     Defendant alleges that it has fully perfo1med all obligations sued on and, accordingly, the

23   obligations are extinguished.
24                               THIRTY-FIRST AFFIRMATIVE DEFENSE

25                                                    (Fraud)

26          31.     This Answering Defendant alleges that Plaintiff is pursuing a fraudulent claim.

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                                      11 -ANSWER TO ADVERSARY COMPLAINT
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 1                               THIRTY-SECOND AFFIRMATIVE DEFENSE
 2                                        (Failure to Disclose Material Facts)
 3           32.     Plaintiff is barred from recove1y on the Complaint and each cause of action alleged therein
 4   because Plaintiff intentionally did not disclose material facts to Defendant for the purpose of inducing
 5   Defendant to enter a contract.
 6                                THIRTY-THIRD AFFIRMATIVE DEFENSE
 7                                       (Ethical and Professional Violations)
 8           33 .    Plaintiff is baned from recove1y on the Complaint and each cause of action alleged therein
 9   because Freed and his agents and or representatives engaged in numerous ethical and professionally
10   violations during the course of their estate planning seminars, as alleged with particularity in the First
11   Amended Cross Complaint.
12                               THIRTY-FOURTH AFFIRMATIVE DEFENSE
13                                             (Fraud in the Inducement)
14           34.     Plaintiff is baned from recove1y on the Complaint and each cause of action alleged therein
15   because Defendant was induced to enter into the Contract and Promisso1y Note by false and :fraudulent
16   representations, which were made knowingly and intentionally by Plaintiff.
17                                 THIRTY-FIFTH AFFIRMATIVE DEFENSE
18                                             (Reservation of Defenses)
19           35 .    This Answering Defendant presently has insufficient knowledge or information upon
20   which to form a belief as to whether it may have latent additional affirmative defenses. This Answering
21   Defendant hereby reserves the right to asse1i additional affirmative defenses should discovery indicate
22   such asse1iion would be appropriate .
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                                       12 - ANSWER TO ADVERSARY COMPLAINT
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 1          WHEREFORE, Defendant prays for Judgment as follows:
 2   1. That Plaintiff take nothing by reason of its Complaint;
 3   2. That Defendant be awarded its costs of suit, expenses, and disbursements, including any attorney's
 4   fees; and
 5   3. For such other and further relief as this Comt deems just and proper.
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 8   DATED: November      _i, 2023                           KELSALL LEGAL SOLUTIONS PC

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11                                                  Attorney for Defendant

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                                     13 -ANSWER TO ADVERSARY COMPLAINT
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